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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA                     Hon.   Nb€l L. /~'t..,t,.m ,r,v
           V.
                                             Crim. No. 18-   a..£-/\/L-+/-
                                             16 U.S.C. §§ 3372(a)(2)(A) and
JOSEPH KELLEY and                            3373(d)(l)(B)
JAMES LEWIS                                  18 u.s.c § 371
                                             18 u.s.c. § 554
                                             18 u.s.c. § 2


                                     INDICTMENT

      The Grand Jury in and for the District of New Jersey, sitting at Newark,

charges, at all times relevant to this Indictment:

                                   INTRODUCTION

                                      Background

      1.        The American eel (Anguilla rostrata) was a species of fish native to

the United States. The American eel was considered a "catadromous" species,

which meant it reproduced in salt water systems and matured in fresh water

(riverine) systems. American eel eggs typically hatched in the Sargasso Sea

near the Bahamas and Bermuda, after which ocean currents carried the

juvenile eels along the eastern North American coast. When they approached

land, tidal fluctuations washed them into bays and tidal creeks, and the eels

were drawn into freshwater river systems along the coastline, after which they

began to migrate upstream. It was at this juvenile stage, during which the eel

measured approximately 2-3 inches in length and was transparent, that the eel

was referred to as an "elver" or a "glass eel." Once an elver matured into a
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"silver eel," which had dark pigmentation, it would return to the sea in order to

spawn.

      2.    American eels could survive in captivity only when captured as

juveniles. Thus, the commercial market for American eels in the United States

was concentrated on their juvenile "elver" stage. Elvers were worth many times

more than adult eels, and fetched the highest prices when exported live to

Hong Kong, Japan, Korea, and other East Asian countries. There, they were

raised in captivity to adulthood and sold for sushi and other foods. In the

United States, dealers paid as much as $2,000 per pound for live elvers

destined for export.

      3.    South Carolina and Maine were the only states that allowed

commercial harvest of elvers, and elver fishing and commerce were heavily

regulated in both of those states. Florida had a commercial fishery for adult

eels, through which fishermen could legally harvest elvers, but the eels'

migration patterns meant that there were vanishingly few elvers to be

harvested in Florida's waters.

      4.    Defendant JOSEPH KELLEY was a resident of in or around

Woolwich, Maine.

      5.    Defendant JAMES LEWIS was a resident of in or around West

Bath, Maine.

      6.    Co-Conspirator Albert Cray (hereinafter, "Co-Conspirator Cray")

was a resident of in or around Phippsburg, Maine.




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      7.    Co-Conspirator Mark Green (hereinafter, "Co-Conspirator Green")

was a resident of in or around West Bath, Maine.

      8.    Co-Conspirator John Pinkham (hereinafter, "Co-Conspirator

Pinkham") was a resident of in or around Bath, Maine.

      9.    Co-Conspirator George Anestis (hereinafter, "Co-Conspirator

Anestis") was a resident of in or around Boxborough, Massachusetts.

      10.   Co-Conspirator Michael Bryant (hereinafter, "Co-Conspirator

Bryant") was a resident of in or around West Yarmouth, Massachusetts.

      11.   Co-Conspirator Thomas Choi (hereinafter, "Co-Conspirator Choi")

was the owner of a seafood company in or around Cambridge, Maryland, which

engaged in the purchase, sale, and export of elvers.


                      Relevant Statutes and Regulations

      12.   The Lacey Act, Title 16, United States Code, Section 3371 et seq.,

made it unlawful for any person to transport, sell, receive, acquire, or

purchase in interstate commerce any fish or wildlife, when the person knew or

should have known that the wildlife had been taken, possessed, transported,

or sold in violation of a wildlife-related law or regulation of a state. See 16

U.S.C. § 3372(a)(2)(A).

      13.   New Jersey Administrative Code, Title 7, Chapter 25, Subchapter

18.1, prohibited the purchase, sale, offer for sale, or exposure for sale of

American Eels less than nine inches in length; any commercially licensed

person was presumed to possess such species for sale purposes.



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      14.    Connecticut General Statutes, Title 26, Chapter 490, Section 26-

128a, prohibited the taking of any elver eel, glass eel, or silver eel.

      15.    Massachusetts General Law (MGL). Chapter 130, Section 100D,

and Chapter 131, Section 52A, established a six-inch minimum size limit for

catching American eel.

      16.    Code of Rhode Island Rules Chapter 25, Division 8, Rule 4, Part

VII, 7.16.2-1, prohibited the possession, take, sale or offer for sale of any

American eel less than nine inches total length.

                                 COUNT ONE
                     (Conspiracy to Violate the Lacey Act)

      17.    Paragraphs 1 through 16 of this Indictment are hereby realleged

and incorporated by reference as if fully set forth herein.

      18.    From in or about January 2013 through in or about May 2014, in

the District of New Jersey, and elsewhere, defendants


                              JOSEPH KELLEY and
                                 JAMES LEWIS

(hereinafter, collectively, the "Defendants") knowingly and intentionally

conspired and agreed with each other, and with Co-Conspirator Cray, Co-

Conspirator Green, Co-Conspirator Pinkham, Co-Conspirator Anestis, Co-

Conspirator Bryant, Co-Conspirator Choi, and others, to commit the following

offenses:

             a. to knowingly acquire, receive, purchase, sell, and transport

                wildlife, namely, elvers, knowing that those elvers had been

                taken, possessed, transported, and sold in violation of the laws
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                  and regulations of the States of New Jersey, Massachusetts,

                  Rhode Island, Connecticut, and others, contrary to Title 16,

                  United States Code, Sections 3372(a)(2)(A) and 3373(d)(l)(B);

                  and

             b. to knowingly receive, buy, and sell, and facilitate the

                  transportation and sale of, American eels, prior to exportation,

                  knowing the eels to be intended for exportation contrary to a

                  law and regulation of the United States, namely, Title 16,

                  United States Code, Sections 3372(a)(l). 3372(a)(4), and

                  3372(d)(2), and Title 50, Code of Federal Regulations, Section

                  14.63, contrary to Title 18, United States Code, Section 554.

                             Objects of the Conspiracy

       19.   The objects of the conspiracy were to harvest elvers, in violation of

state law, to sell elvers for profit, and to fraudulently disguise the origins of

those elvers in order to deceive regulatory entities of the United States at the

time of export.

                        Manner and Means of the Conspiracy

      20.    It was a part of the conspiracy that the Defendants, Co-

Conspirator Cray, Co-Conspirator Green, Co-Conspirator Pinkham, Co-

Conspirator Anestis, Co-Conspirator Bryant, and others, fished for and caught

elvers in New Jersey, Massachusetts, Rhode Island, Connecticut, and

elsewhere.




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      21.   It was further a part of the conspiracy that the Defendants, Co-

Conspirator Cray, Co-Conspirator Green, Co-Conspirator Pinkham, Co-

Conspirator Anestis, Co-Conspirator Bryant, and others, arranged to sell elvers

they caught in violation of state law to Co-Conspirator Choi in Maryland and

other elver dealers and exporters in Connecticut, New Jersey, and

Massachusetts.

      22.   It was further a part of the conspiracy that the Defendants, Co-

Conspirator Cray, Co-Conspirator Green, Co-Conspirator Pinkham, Co-

Conspirator Anestis, Co-Conspirator Bryant, and others, transported elvers in

interstate commerce from the fishing locations to elver dealers and exporters,

using vehicles outfitted with aerated tanks to keep the elvers alive.

      23.   It was further a part of the conspiracy that the Defendants, Co-

Conspirator Cray, Co-Conspirator Green, Co-Conspirator Pinkham, Co-

Conspirator Anestis, and others, obtained non-resident commercial fishing

licenses from the State of Florida to present to dealers and exporters in

documenting elver sales as required by the United States Fish and Wildlife

Service, in order to falsely claim upon export that the defendants had legally

harvested the elvers in Florida waters. Co-Conspirator Choi obtained a dealer's

license from the State of Florida for the same purpose.

      24.   It was further a part of the conspiracy that the Defendants, Co-

Conspirator Cray, Co-Conspirator Green, Co-Conspirator Pinkham, Co-

Conspirator Anestis, Co-Conspirator Bryant, Co-Conspirator Choi, and others,




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trafficked in over $1.5 million worth of American eels obtained in violation of

state law.

                                   Overt Acts

      25.    In furtherance of the conspiracy and to effect the unlawful objects

thereof, the following overt acts, among others, were committed in the District

of New Jersey and elsewhere:

             2013 Season

         a. OVEITT ACT 1: In or around January and February 2013, at

defendant JAMES LEWIS's recommendation, Co-Conspirator Cray, Co-

Conspirator Green, and Co-Conspirator Anestis, applied for, and were issued,

licenses to harvest American eels in Florida. The purpose of these licenses was

to conceal the origins of illegally harvested elvers by claiming they had been

legally harvested in Florida.

             2013: New Jersey

         b. OVEITT ACT 2: In or around February and March 2013, the

Defendants and others traveled from Maine to Millville, New Jersey, where Co-

Conspirator Cray rented a storage locker and hotel room.

         c. OVEITT ACT 3: In or around February and March 2013, defendant

JOSEPH KELLEY and Co-Conspirator Green transported a quantity of

American eels, which had been harvested illegally in Massachusetts, from

Massachusetts to New Jersey.

         d. OVEITT ACT 4: In or around February and March 2013, defendant

JOSEPH KELLEY, Co-Conspirator Cray, Co-Conspirator Green, Co-Conspirator

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Bryant, and others, caught a quantity of American eels in or around Millville,

New Jersey.

           e. OVERT' ACT 5: In or around February and March 2013, defendant

JOSEPH KELLEY and Co-Conspirator Green sold a quantity of American eels

transported from Massachusetts and caught in New Jersey to Co-Conspirator

Choi in Cambridge, Maryland. They provided a Florida non-resident

commercial fishing license to falsely claim that the eels had been harvested in

Florida.

           f. OVERT' ACT 6: In or around February and March 2013, defendant

JOSEPH KELLEY, Co-Conspirator Cray, Co-Conspirator Green, Co-Conspirator

Bryant, and others, caught a quantity of American eels in or around Millville,

New Jersey.

           g. OVERT' ACT 7: In or around February and March 2013, defendant
JOSEPH KELLEY and Co-Conspirator Green sold the American eels they

caught in New Jersey to Co-Conspirator Choi in Cambridge, Maryland. Co-

Conspirator Choi provided a receipt documenting a sale of 91 pounds of elvers

for $109,000.

           h. OVERT' ACT 8: On or about March 13, 2013, Co-Conspirator Choi

sold the American eels he purchased from defendant JOSEPH KELLEY and Co-

Conspirator Green to an elver exporter in New York. Co-Conspirator Choi

provided Co-Conspirator Green's Florida non-resident commercial fishing

license information and a fisherman's list claiming that Co-Conspirator Green

had caught the eels in Florida.


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          i.   OVERT ACT 9: From on or about March 13, 2013, through on or

about March 15, 2013, defendant JOSEPH KELLEY, Co-Conspirator Cray, Co-

Conspirator Green, Co-Conspirator Bryant, Co-Conspirator Pinkham, and

others, caught a quantity of American eels in or around Millville, New Jersey.

         j.    OVERT ACT 10: On or about March 15, 2013, Co-Conspirator

Cray, Co-Conspirator Green, and others, sold the American eels they caught in

New Jersey to Co-Conspirator Choi in Cambridge, Maryland.

         k. OVERT ACT 11: On or about March 30, 2013, Co-Conspirator Choi

sold the American eels he purchased from New Jersey fishermen to an elver

exporter in New York. Co-Conspirator Choi provided Co-Conspirator Cray and

Co-Conspirator Green's Florida non-resident commercial fishing license

information and a fisherman's list claiming that Co-Conspirator Cray and Co-

Conspirator Green had caught the eels in Florida.

         1. OVERT ACT 12: On or about March 30, 2013, defendant JOPSEH

KELLEY and others caught a quantity of American eels in or around Millville,

New Jersey.

         m. OVERT ACT 13: On or about March 31, 2013, defendant JOSEPH

KELLEY and others again caught a quantity of American eels in or around

Millville, New Jersey.

         n. OVERT ACT 14: On or about April 1, 2013, defendant JOSEPH

KELLEY and others sold the American eels they caught in New Jersey to Co-

Conspirator Choi in Cambridge, Maryland. They provided a Florida non-




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 resident commercial fishing license to falsely claim that the eels had been

 harvested in Florida.

          o. OVERT ACT 15: On or about April 1, 2013, Co-Conspirator Choi

 sold American eels he purchased from New Jersey fishermen to an elver

 exporter in New York. Co-Conspirator Choi provided Co-Conspirator Cray's and

 Co-Conspirator Green's Florida non-resident commercial fishing license

 information and a fisherman's list claiming that Co-Conspirator Cray and Co-

 Conspirator Green had caught the eels in Florida.

          p. OVERT ACT 16: On or about April 9, 2013, defendant JOSEPH

 KELLEY, defendant JAMES LEWIS, Co-Conspirator Green, Co-Conspirator

 Pinkham, and others, caught a quantity of American eels in or around Millville,

 New Jersey.

          q. OVERT ACT 17: From on or about April 10, 2013, through on or

 about April 11, 2013, defendant JOSEPH KELLEY, Co-Conspirator Pinkham,

 and others, again caught a quantity of American eels in or around Millville,

 New Jersey.

          r. OVERT ACT 18: On or about April 12, 2013, defendant JOSEPH

 KELLEY and others sold the American eels caught in New Jersey, including

 those caught by defendant JAMES LEWIS, Co-Conspirator Green, and Co-

 Conspirator Pinkham, on April 9, 2013, to Co-Conspirator Choi in northern

 New Jersey. They provided Co-Conspirator Cray's Florida non-resident

 commercial fishing license number to falsely claim that the eels had been

 harvested in Florida.

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          s. OVEITT ACT 19: On or about April 12, 2013, after the sale to Co-

 Conspirator Choi, defendant JOSEPH KELLEY and others cleaned out the

 storage locker in Millville, New Jersey, and drove back to Maine.

          t.   OVEITT ACT 20: On or about April 19, 2013, Co-Conspirator Choi

 sold American eels he had purchased from New Jersey fishermen to an elver

 exporter in New York. Co-Conspirator Choi provided Co-Conspirator Green's

 Florida non-resident commercial fishing license information and a fisherman's

 list claiming that Co-Conspirator Green had caught some of the eels in Florida.

               2013: New England

          u. OVEITT ACT 21: On or about March 10, 2013, defendant JOSEPH

 KELLEY, Co-Conspirator Cray, Co-Conspirator Green, and Co-Conspirator

 Bryant fished for American eels at Swan Lake Village in Yarmouth,

 Massachusetts.

          v. OVEITT ACT 22: On or about April 2, 2013, defendant JAMES

 LEWIS and Co-Conspirator Green transported a quantity of American eels

 caught by Co-Conspirator Anestis in Rhode Island to Co-Conspirator Choi in

 New York.

          w. OVEITT ACT 23: In or around April 2013, defendant JAMES LEWIS

 and Co-Conspirator Green caught a quantity of American eels in Haverhill,

 Massachusetts.

          x. OVERT ACT 24: In or around April 2013, defendant JAMES LEWIS

 and Co-Conspirator Green sold the American eels they caught in

 Massachusetts to Co-Conspirator Choi in Massachusetts.

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          y. OVEITT ACT 25: In or around April 2013, defendant JAMES

 LEWIS, Co-Conspirator Green, Co-Conspirator Pinkham, and Co-Conspirator

 Anestis again caught a quantity of American eels in Haverhill, Massachusetts.

          z. OVEITT ACT 26: In or around April 2013, defendant JAMES

 LEWIS, Co-Conspirator Green, Co-Conspirator Pinkham, and Co-Conspirator

 Anestis hired someone to drive the American eels they caught in Haverhill to

 Co-Conspirator Choi's facility in Cambridge, Maryland, where Co-Conspirator

 Choi purchased the elvers.

          aa. OVEITT ACT 27: In or around April 2013, defendant JAMES

 LEWIS, Co-Conspirator Green, and Co-Conspirator Anestis caught a quantity

 of American eels in Haverhill, Massachusetts.

         bb. OVEITT ACT 28: In or around April 2013, defendant JAMES

 LEWIS, Co-Conspirator Green, and Co-Conspirator Anestis sold the American

 eels they caught in Massachusetts to an elver dealer in Connecticut.

         cc. OVEITT ACT 29: On or about April 30, 2013, Co-Conspirator Choi

 exported American eels he purchased from Massachusetts fishermen to a

 seafood company in South Korea. Co-Conspirator Choi provided defendant

 JOSEPH KELLEY, Co-Conspirator Green, and Co-Conspirator Anestis's Florida

 non-resident commercial fishing license information and a fisherman's list

 claiming that defendant JOSEPH KELLEY, Co-Conspirator Green, and Co-

 Conspirator Anestis, had caught the eels in Florida.




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       2014 Season

       dd.   OVERT ACT 30: From in or about October 2013 through in or

 about January 2014, Co-Conspirator Cray, Co-Conspirator Green, and Co-

 Conspirator Pinkham applied for and were issued licenses to harvest American

 eels in Florida. The purpose of these licenses was to conceal the origins of

 illegally harvested eels by claiming they had been legally harvested in Florida.

       ee.   OVERT ACT 31: From on or about March 10, 2014, through on or

 about March 24, 2014, defendant JOSEPH KELLEY, Co-Conspirator Green,

 Co-Conspirator Pinkham, and others, caught a quantity of American eels in or

 around Millville, New Jersey.

       ff.   OVERT ACT 32: On or about March 26, 2014, Co-Conspirator

 Green and another individual sold the American eels they caught in New Jersey

 to Co-Conspirator Choi in Cambridge, Maryland. They provided a Florida non-

 resident commercial fishing license to falsely claim that the eels had been

 harvested in Florida. Co-Conspirator Choi paid appro:ximately $24,100 for

 approximately 64 pounds of elvers.

       gg.   OVERT ACT 33: On or about March 26, 2014, Co-Conspirator Choi

 sold American eels he purchased from New Jersey fishermen to an elver

 exporter in New Jersey. Co-Conspirator Choi provided Co-Conspirator Green

 and Co-Conspirator Pinkham's Florida non-resident commercial fishing license

 information and a fisherman's list claiming that Co-Conspirator Green and Co-

 Conspirator Pinkham had caught some of the eels in Florida.




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        hh.   OVERT ACT 34: On or about April 11, 2014, defendant JAMES

 LEWIS, Co-Conspirator Green, and Co-Conspirator Pinkham met Co-

 Conspirator Choi in Palisades Park, New Jersey, to sell American eels that

 defendant JAMES LEWIS, Co-Conspirator Green, and Co-Conspirator Pinkham

 had obtained in Connecticut.

        ii.   OVERT ACT 35: On or about April 15, 2014, Co-Conspirator Choi

 sold American eels he purchased from New Jersey fishermen to an elver

 exporter in New Jersey. Co-Conspirator Choi provided Co-Conspirator Green

 and Co-Conspirator Pink.ham's Florida non-resident commercial fishing license

 information and a fisherman's list claiming that Co-Conspirator Green, Co-

 Conspirator Pinkham, and others, had caught some of the eels in Florida.

       jj.    OVERT ACT 36: On or about April 17, 2014, at a house in

 Cedarville, New Jersey, defendant JAMES LEWIS, Co-Conspirator Green, Co-

 Conspirator Pinkham, and others, sold Co-Conspirator Choi American eels that

 defendant JAMES LEWIS and his associates had caught in New Jersey. Co-

 Conspirator Choi provided approximately $21,600 for approximately 40 pounds

 of elvers.

        kk.   OVERT ACT 37: On or about April 17, 2014, Co-Conspirator Choi

 sold American eels he purchased from New Jersey fishermen to an elver

 exporter in New Jersey. Co-Conspirator Choi provided Co-Conspirator Green

 and Co-Conspirator Pinkham's Florida non-resident commercial fishing license

 information and a fisherman's list, claiming that Co-Conspirator Green and Co-

 Conspirator Pinkham had caught some of the eels in Florida.


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                         COUNTS TWO THROUGH FIVE
                           (Violations of the Lacey Act)

       26.    Paragraphs 1 through 16, and 19 through 25, of this Indictment

 are hereby realleged and incorporated by reference as if fully set forth herein.

       27.    On or about the dates specified in the table below, in the district of

 New Jersey and elsewhere, the defendants, as specified in the table below,

 knowingly engaged and attempted to engage in conduct involving the purchase

 and sale of fish, namely, American eels, with a market value in excess of $350,

 by knowingly receiving, acquiring, selling, and transporting, and attempting to

 receive, acquire, purchase, and transport, such fish in interstate and foreign

 commerce, knowing such fish were taken, possessed, and transported in

 violation of and in a manner unlawful under the laws and regulations of a

 state, when such fish were in fact taken, possessed, transported and sold in

 violation of the laws and regulations of the states specified in the table below:


  Count Defendant      Date (on or about)     State Law Violated    Place of
                                                                    Transport or
                                                                    Sale

  2       JOSEPH       March 12, 2013         New Jersey             Maryland
          KELLEY                              Administrative
                                              Code, Title 7,
                                              Chapter 25,
                                              Subchapter 18.1

  3       JOSEPH       April 1,2013           New Jersey             Maryland
          KELLEY                              Administrative
                                              Code, Title 7,
                                              Chapter 25,
                                              Subchapter 18. l



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  Count Defendant      Date (on or about)     State Law Violated    Place of
                                                                    Transport or
                                                                    Sale

  4       JAMES        April2013              Massachusetts         New Jersey
          LEWIS                               General Laws,
                                              Chapter 130,
                                              Section 1OOD, and
                                              Chapter 131,
                                              Section 52A

  5       JAMES        April 11, 2014         Connecticut General New Jersey
          LEWIS                               Statutes, Title 26,
                                              Chapter 490,
                                              Section 26- l 28a




       In violation of Title 16, United States Code, Sections 3372(a)(2)(A),

 3372(a)(4), and 3373(d)(l)(B), and Title 18, United States Code, Section 2.




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                                    COUNT SIX
                                    (Smuggling)

       28.   Paragraphs 1 through 16, and 19 through 25, of this Indictment

 are hereby realleged and incorporated by reference as if fully set forth herein.

       29.   On or about April 12, 2013, in the District of New Jersey, and

 elsewhere, defendant

                                  JOSEPH KELLEY

 did knowingly receive, buy, and sell, and facilitate the transportation and sale

 of, American eels, prior to exportation, knowing the eels to be intended for

 exportation contrary to a law and regulation of the United States, namely, Title

 16, United States Code, Sections 3372(a}(l), 3372(a}(4), and 3372(d}(2), and

 Title 50, Code of Federal Regulations, Section 14.63.

       In violation of Title 18, United States Code, Section 554, and Title 18,

 United States Code, Section 2.




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                                  COUNT SEVEN
                                   (Smuggling)

       30.   Paragraphs 1 through 16, and 19 through 25, of this Indictment

 are hereby realleged and incorporated by reference as if fully set forth herein.

       31.   On or about April 17, 2014, in the District of New Jersey, and

 elsewhere, defendant

                                  JAMES LEWIS

 did knowingly receive, buy, and sell, and facilitate the transportation and sale

 of, American eels, prior to exportation, knowing the eels to be intended for

 exportation contrary to a law and regulation of the United States, namely, Title

 16, United States Code, Sections 3372(a)(l). 3372(a)(4). and 3372(d}(2). and

 Title 50, Code of Federal Regulations, Section 14.63.

       In violation of Title 18, United States Code, Section 554, and Title 18,

 United States Code, Section 2.

                                              A TRUE BILL




 JEFFREY H. WOOD
 ACTING ASSISTANT ATI'ORNEY GENERAL
 U.S. DEPAIITMENT OF JUSTICE
 ENVIRONMENT AND NATURAL RESOURCES DMSION


 By:6vi1~
Cassandra Barnum
Trial Attorney
U.S. Department of Justice
Environmental Crimes Section


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                              CASE NUMBER:

                 United States District Court
                   District of New Jersey
                 UNITED STATES OF AMERICA

                                   v.

                       JOSEPH KELLEY and
                          JAMES LEWIS


                     INDICTMENT FOR
               16 U.S.C. §§ 3372(a)(2)(A) and 3373(d)(l)(B)
                              18 u.s.c. § 371
                              18 u.s.c. § 554
                               18 u.s.c. § 2


                A True Bill,



                Fotepexson
                             JEFFREY H • WOOD
                   ACTING ASSISTANT ATTORNEY GENERAL
                      U.S. DEPARTMENT OF JUSTICE
              ENVIRONMENT AND NATURAL RESOURCES DIVISION

                             CASSANDRA BARNUM
                              TRIAL ATTORNEY
                             (202) 305-0333

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